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                                                    RETURN OF SERVICE

                                       UNITED STATES DISTRICT COURT
                                           Southern District of Florida
Case Number: 18-CV-81038-DMM

Plaintiff:
Securities and Exchange Commission
vs.
Defendant:
Palm House Hotel, LLLP; et al

For:
U.S. Securities and Exchange Commission
100 F St NE
Washington , DC 20549

Received by Cavalier Courier & Process Service to be served on South Atlantic Regional Center, LLC, Registered
Agent: Registered Agents, Inc., 3030 N. Rocky Point Dr., Suite 150 A, Tampa, FL 33607.

I, Don Austin, do hereby affirm that on the 7th day of August, 2018 at 12:00 pm, I:

Served Summons in a Civil Action; Complaint; Notice of Judge Assignment personally to Laurie Hart as authorized
recipient for registered agent of South Atlantic Regional Center, LLC. Service occurred at Registered Agent: Registered
Agents, Inc., 3030 N. Rocky Point Dr. , Suite 150 A, Tampa, FL 33607.


I am a natural person over the age of eighteen and am not a party to or otherwise interested in the subject matter in
controversy. I am a private process server authorized to serve this process in accordance with relevant law. Under penalty of
perjury, I declare that the foregoing is true and correct.




                                                                                               Cavalier ourier & Process Service
                                                                                               823-C South King Street
                                                                                               Leesburg, VA20175
                                                                                               (703) 431-7085

                                                                                               Our Job Serial Number: CAV-2018005858
                                                                                               Ref: MIRO-61077


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